

Matter of Jackson (2022 NY Slip Op 05135)





Matter of Jackson


2022 NY Slip Op 05135


Decided on September 8, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:September 8, 2022

PM-154-22
[*1]In the Matter of Lawrence Dexter Jackson, an Attorney. (Attorney Registration No. 2815009.)

Calendar Date:September 6, 2022

Before:Aarons, J.P., Pritzker, Ceresia, Fisher and McShan, JJ.

Lawrence Dexter Jackson, Mullica Hill, New Jersey, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Lawrence Dexter Jackson was admitted to practice by this Court in 1997 and lists a business address in Wayne, Pennsylvania with the Office of Court Administration. Jackson now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Jackson's application.
Upon reading Jackson's affidavit sworn to June 8, 2022 and filed June 13, 2022, and upon reading the September 1, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that Jackson is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Aarons, J.P., Pritzker, Ceresia, Fisher and McShan, JJ., concur.
ORDERED that Lawrence Dexter Jackson's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Lawrence Dexter Jackson's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Lawrence Dexter Jackson is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Jackson is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Lawrence Dexter Jackson shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








